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PENALTY SLIP

DEFENDANT NAME: JAYDIN LEDFORD |~.-j,:;_;'\/ ,j"_r 5 _;>_;H,

TOTAL NO. COUNTS: 3

VIO: 18 U.S.C. § 2261A
Cyberstalking (Count l)

PENALTY: not more than 5 years;
and/or $250,|]00 i'ine;
3 years supervised release;
a 5100 special penalty assessment

VIO: 18 U.S.C. § 875(0)
Threats in lnterstate Communications (Cuunts 2 and 3)

PENALTY: not more than 5 years;
and/or 5250,000 line;
3 years supervised release;
a 5100 special penalty assessment

 

CASE 2;19-CR-49-RMP-1
NO.

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